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Fll.E`D BY H.____ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH 20 PH [: 26

Western
HOBERT R. L'Ji `§'ROL!D
CLEF°EK. U\$.`i. D§ST. CT.
UNITED STATES oF AMERJCA, W-D~ OF TN. M'EMPH'S
Plaintiff,
vs. Case No. 2:04CR20025-D
Gabriel Scurlock

 

ORDER REFUNDING CASH APPEARANCE BOND

 

'I'his matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,

payable to Yvonne Scurlock at 5449 Lochnivar, Memphis, TN 38116 in full refund of the cash

appearance bond posted herein.

   

1ted States Dlstn`ct Judge
Berm`ce B. Donald

Date:{g »'£Q _ MQ§_-'

Approved.
Di Trolio, Clerk of

    
 

This document entered on the docket sheet in compliance
Wirh sale 55 and/or a2(b) FHCrP on ’ '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20025 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

